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2017R00153

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                       :       Crim. No. 18-505 (RBK)

       v.                                      :       HON. ROBERT KUGLER

KENNETH CRAWFORD JR.                           :

                  UNITED STATES’ PROPOSED JURY INSTRUCTIONS

       Pursuant to Fed. R. Crim P. 30, the United States requests that the Court charge the jury

in this case in accordance with the enclosed instructions.    The United States respectfully

reserves the right to supplement, modify, or withdraw these requests for instructions in light of

the requests for instruction, if any, filed by the defendant and the evidence in this case.

                                               Respectfully submitted by:

                                               RICHARD E. ZUCKERMAN
                                               Principal Deputy Assistant Attorney General
                                               U.S. Department of Justice, Tax Division


                                               _/s/Sean M. Green_________________
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                    PRELIMINARY INSTRUCTIONS TO THE JURY PANEL

INSTRUCTION 1: Preliminary Instructions to Jury Panel

        I am Judge Robert Kugler, the trial judge in this case. You have been called to this

courtroom as a panel of prospective jurors for the case of United States v. Kenneth Crawford Jr.

This is a criminal case in which Kenneth Crawford Jr. is charged with committing the crimes of

conspiring to defraud the United States, making or presenting false, fictitious, or fraudulent claims

to a department of the United States, and obstructing or impeding the due administration of the

internal revenue laws, all in violation of federal criminal law.

        From this panel we will select the jurors who will sit on the jury that will decide this case.

We will also select alternate jurors, who will be part of this trial and available in the event that one

of the regular jurors becomes ill or is otherwise unable to continue on the jury.

            We rely on juries in this country to decide cases tried in our courts, so service on a jury is

an important duty of citizenship. Jurors must conduct themselves with honesty, integrity, and

fairness.

        Under our system of justice, the role of the jury is to find the facts of the case based on the

evidence presented in the trial. That is, from the evidence seen and heard in court, the jury

decides what the facts are, and then applies to those facts the law that I will give in my instructions

to the jury. My role as the trial judge is to make whatever legal decisions must be made during the

trial and to explain to the jury the legal principles that will guide its decisions.

        We recognize that you are all here at some sacrifice. However, we cannot excuse anyone

merely because of personal inconvenience, unless serving on this jury would be a compelling

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hardship.

        In a few minutes you will be sworn to answer truthfully questions about your qualifications

to sit as jurors in this case. This questioning process is called the voir dire. I will conduct the

questioning, and the lawyers for the parties may also participate. It is, of course, essential that

you answer these questions truthfully; a deliberately untruthful answer could result in severe

penalties.

        The voir dire examination will begin with a brief statement about the particulars of this

case. The purpose of this statement is to tell you what the case is about and to identify the parties

and their lawyers.

        Questions will then be asked to find out whether any of you have any personal interest in

this case or know of any reason why you cannot render a fair and impartial verdict. We want to

know whether you are related to or personally acquainted with any of the parties, their lawyers, or

any of the witnesses who may appear during the trial, and whether you already know anything

about this case. Other questions will be asked to determine whether any of you have any beliefs,

feelings, life experiences, or any other reasons that might influence you in rendering a verdict.

        The questions are not intended to embarrass you. If you have a response that you are

uncomfortable sharing publicly, please let me know and I will see that you are questioned in

private. I also may decide on my own that questions should be asked in private.

        After this questioning, some of you will be chosen to sit on the jury for this case. If you

are not chosen, you should not take it personally and you should not consider it a reflection on your

ability or integrity.

        There may be periods of silence during the voir dire process, when the lawyers and I are not


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speaking openly. During those times you may talk, but you must not talk about this case or about

the voir dire questions and answers.1




1 3rd Circuit Model Jury Instructions, § 1.01 (2012).


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INSTRUCTION 2: Role of the Jury

        Now that you have been sworn, let me tell you what your role is as jurors in this case.

        Under our system of justice, the role of the jury is to find the facts of the case based on

the evidence presented in the trial. You must decide the facts only from the evidence presented to

you in this trial.

        From the evidence that you will hear and see in court, you will decide what the facts are

and then apply to those facts the law that I will give to you in my final instructions.   That is how

you will reach your verdict.

        Whatever your verdict, it will have to be unanimous.     All of you will have to agree on it

or there will be no verdict.   In the jury room you will discuss the case among yourselves, but

ultimately each of you will have to make up his or her own mind. Therefore, each of you has a

responsibility which you cannot avoid and you should do your best throughout the trial to fulfill

this responsibility.

        I play no part in finding the facts.   You should not take anything I may say or do during

the trial as indicating what I think of the evidence or about what your verdict should be.    My

role is to make whatever legal decisions have to be made during the course of the trial and to

explain to you the legal principles that must guide you in your decisions.

        You must apply my instructions about the law.      Each of the instructions is important.

You must not substitute your own notion or opinion about what the law is or ought to be.        You

must follow the law that I give to you, whether you agree with it or not.

        Perform these duties fairly and impartially. Do not allow sympathy, prejudice, fear, or

public opinion to influence you.     You should also not be influenced by any person's race, color,


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religion, national ancestry, gender, profession, occupation, or economic circumstances.2




2 3rd Circuit Model Jury Instructions, § 1.02 (2012).

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INSTRUCTION 3: Conduct of the Jury

       Here are some important rules about your conduct as jurors:

       (1) Keep an open mind.      Do not make up your mind about the verdict until you have

heard all of the evidence, and I have given final instructions about the law at the end of the trial,

and you have discussed the case with your fellow jurors during your deliberations.

         (2) Do not discuss the case among yourselves until the end of the trial when you retire to

the jury room to deliberate.    You need to allow each juror the opportunity to keep an open mind

throughout the entire trial.   During trial you may talk with your fellow jurors about anything

else of a personal nature or of common interest.

       (3) During the trial you should not speak to any of the parties, lawyers, or witnesses

involved in this case, not even to pass the time of day.    If any lawyer, party, or witness does not

speak to you when you pass in the hall, ride the elevator, or the like, remember it is because they

are not supposed to talk or visit with you, either.

       (4) Do not talk with anyone else or listen to others talk about this case until the trial has

ended and you have been discharged as jurors. It is important not only that you do justice in

this case, but that you give the appearance of justice.    If anyone should try to talk to you about

the case during the trial, please report that to me, through my courtroom deputy, immediately.

Do not discuss this situation with any other juror.

       (5) Do not discuss the case with anyone outside the courtroom or at home, including your

family and friends.   You may tell your family or friends that you have been selected as a juror

in a case and you may tell them how long the trial is expected to last. However, you should


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also tell them that the judge instructed you not to talk any more about the case and that they

should not talk to you about it.    The reason for this is that sometimes someone else’s thoughts

can influence you.    Your thinking should be influenced only by what you learn in the

courtroom.

        (6) Until the trial is over and your verdict is announced, do not watch or listen to any

television or radio news programs or reports about the case, or read any news or internet stories

or articles about the case, or about anyone involved with it.

        (7) Do not use a computer, cellular phone, other electronic devices or tools of technology

while in the courtroom or during deliberations. These devices may be used during breaks or

recesses for personal uses, but may not be used to obtain or disclose information about this case.

You may not communicate with anyone about the case on your cell phone, through e-mail,

Blackberry, iPhone, text messaging, or on Twitter, through any blog or website, through any

internet chat room, or by way of any other social networking websites, including Google+,

Facebook, My Space, LinkedIn, and YouTube.              You may not use any similar technology of

social media, even if I have not specifically mentioned it.

        (8) Do not do any research or make any investigation on your own about any matters

relating to this case or this type of case.   This means, for example, that you must not visit the

scene, conduct experiments, consult reference works or dictionaries, or search the internet,

websites or blogs for additional information, or use a computer, cellular phone, or other

electronic devices or tools of technology, or any other method, to obtain information about this

case, this type of case, the parties in this case, or anyone else involved in this case. Please do

not try to find out information from any source outside the confines of this courtroom.      You


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must decide this case based only on the evidence presented in the courtroom and my instructions

about the law.   It would be improper for you to try to supplement that information on your own.

       (9) Finally, you should not concern yourselves with or consider the possible

punishment that might be imposed if you return a verdict of guilty.3




3 3rd Circuit Model Jury Instructions, § 1.03 (2012).

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INSTRUCTION 4: Bench (Side-Bar) Conference

       During the trial it may be necessary for me to talk with the lawyers out of your hearing.

That is called a bench or side-bar conference. If that happens, please be patient. We also ask

that you advise me, through my courtroom deputy, if you are able to hear any of the bench or

side-bar conferences, because the purpose is to hold these discussions outside the hearing of the

jury, for important reasons.

       I know you may be curious about what we are discussing. We are not trying to keep

important information from you.    These conferences are necessary for me to discuss with the

lawyers objections to evidence and to be sure that evidence is presented to you correctly under

the rules of evidence. We will, of course, do what we can to keep the number and length of

these conferences to a minimum.    If I think the conference will be long, I will call a recess.

       I may not always grant a lawyer's request for a conference. Do not consider my

granting or denying a request for a conference as suggesting my opinion of the case or of what

your verdict should be.

       A white noise generator is installed over the jury box for use when the lawyers and I are

speaking at the bench or at side-bar. This machine neutralizes sound and prevents the jury from

hearing what is said without requiring us to whisper.4




4 3rd Circuit Model Jury Instructions, § 1.04 (2012).


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INSTRUCTION 5: Note Taking by Jurors

        At the end of the trial you must make your decision based on what you remember of the

evidence. You will not have a written transcript of the testimony to review. You must pay

close attention to the testimony as it is given.

          If you wish, you may take notes to help you remember what witnesses said.          My

courtroom deputy will arrange for pens, pencils, and paper. If you do take notes, please keep

them to yourself until the end of trial when you and your fellow jurors go to the jury room to

decide the case.   Here are some other specific points to keep in mind about note taking:

        (1)   Note-taking is permitted, but it is not required.    You are not required to take notes.

How many notes you want to take, if any, is entirely up to you.

        (2)    Please make sure that note-taking does not distract you from your tasks as jurors.

You must listen to all the testimony of each witness.       You also need to decide whether and how

much to believe each witness.      That will require you to watch the appearance, behavior, and

manner of each witness while he or she is testifying.       You cannot write down everything that is

said and there is always a fear that a juror will focus so much on note-taking that he or she will

miss the opportunity to make important observations.

        (3)   Your notes are memory aids; they are not evidence. Notes are not a

record or written transcript of the trial.     Whether or not you take notes, you will need to rely on

your own memory of what was said.            Notes are only to assist your memory; you should not be

overly influenced by notes.

        (4)   In your deliberations, do not give any more or less weight to the views of a fellow


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juror just because that juror did or did not take notes.   Do not assume that just because

something is in someone’s notes that it necessarily took place in court. It is just as easy to write

something down incorrectly as it is to hear or remember it incorrectly. Notes are not entitled to

any greater weight than each juror’s independent memory of the evidence. You should rely on

your individual and collective memories when you deliberate and reach your verdict.

       (5)   You should not take your notes away from court. My staff is responsible for making

sure that no one looks at your notes. Immediately after you have finished your deliberations

and I have accepted your verdict, my staff will collect and destroy your notes, to protect the

secrecy of your deliberations.5




5 3rd Circuit Model Jury Instructions, § 1.05 (2012).


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INSTRUCTION 6: Description of Trial Proceedings

       The trial will proceed in the following manner:

       First:    The lawyers and the defendant, who has chosen to represent himself, will have an

opportunity to make opening statements to you. The prosecutor may make an opening

statement at the beginning of the case. The defendant may make an opening statement after the

prosecutor’s opening statement or the defendant may postpone the making of an opening

statement until after the government finishes presenting its evidence.    The defendant is not

required to make an opening statement.

       The opening statements are simply an outline to help you understand what each party

expects the evidence to show.     What is said in the opening statements is not itself evidence.

       Second:     After opening statements, the government will introduce the evidence that it

thinks proves the charges stated in the indictment.   The government will present witnesses and

the defendant may cross-examine those witnesses.       The government may also offer documents

and other exhibits into evidence.

       Third:    After the government has presented its evidence, the defendant may present

evidence, but he is not required to do so.   As I will tell you many times during this trial, the

government always has the burden or obligation to prove each and every element of the offenses

charged beyond a reasonable doubt. The defendant is presumed to be innocent of the charges.

The law never imposes on a defendant in a criminal case the burden of proving his innocence by

calling any witnesses, producing any exhibits, or introducing any evidence.

       Fourth:     After all of the evidence has been presented, the lawyers will have the

opportunity to present closing arguments.     Closing arguments are designed to present to you the


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parties’ theories about what the evidence has shown and what conclusions may be drawn from

the evidence.       What is said in closing arguments is not evidence, just as what is said in the

opening statements is not evidence.

        Fifth:      After you have heard the closing arguments, I will give you orally [and in

writing] the final instructions concerning the law that you must apply to the evidence presented

during the trial.     As I am doing now, I may also give you instructions on certain aspects of the

law throughout the trial, as well as at the end of the trial.

        Sixth:      After my final instructions on the law, you will retire to consider your verdict.

Your deliberations are secret.      You will not be required to explain your verdict to anyone.

Your verdict must be unanimous; all twelve of you must agree to it.

        You must keep your minds open during this trial.        Do not make up your mind about any

of the questions in this case until you have heard each piece of evidence and all of the law which

you must apply to that evidence--in other words, until you begin your deliberations.6




6 3rd Circuit Model Jury Instructions, § 1.07 (2012).
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INSTRUCTION 7: Evidence (What is; is Not)

       You must make your decision in this case based only on the evidence that you see and

hear in the courtroom.   Do not let rumors, suspicions, or anything else that you may see or hear

outside of court influence your decision in any way.

       The evidence from which you are to find the facts consists of the following:

       (1) The testimony of the witnesses;

       (2) Documents and other things received as exhibits; and

       (3) Any fact or testimony that is stipulated; that is, formally agreed to by the parties.

       The following are not evidence:

       (1) Statements and arguments of the lawyers in this case and statements and arguments

made by the defendant while representing himself;

       (2) Questions by the lawyers and questions that I might ask.      You must not assume that

a fact is true just because one of the lawyers or I ask a question about it. It is the witness

answers that are evidence.    Of course, you may need to consider the question to know what a

witness means by his or her answer. For example, if a witness answers yes to a question, you

will have to consider the question to understand what the witness is saying.

       (3) Objections, including objections in which the lawyers or parties state facts;

       (4) Any testimony I strike or tell you to disregard; and

       (5) Anything you may see or hear about this case outside the courtroom.

       You should use your common sense in weighing the evidence.          Consider it in light of

your everyday experience with people and events, and give it whatever weight you believe it

deserves. If your experience and common sense tell you that certain evidence reasonably leads


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to a conclusion, you may reach that conclusion.

        The rules of evidence control what can be received into evidence. When a lawyer or party

asks a question or offers an exhibit into evidence, and a lawyer or party on the other side thinks

that it is not permitted by the rules of evidence, that lawyer may object. An objection simply

means that the lawyer or party is asking me to decide whether the evidence should be allowed

under the rules.    Lawyers have a responsibility to their clients to make objections when they

think evidence being offered is improper under the rules of evidence.      You should not be

influenced by the fact that an objection is made.

        You should also not be influenced by my rulings on objections to evidence.        If I

overrule an objection, the question may be answered or the exhibit may be received as evidence,

and you should treat the testimony or exhibit like any other. I may allow evidence (testimony

or exhibits) only for a limited purpose.   If I do that, I will instruct you to consider the evidence

only for that limited purpose, and you must follow that instruction.

        If I sustain an objection, the question will not be answered or the exhibit will not be

received as evidence. Whenever I sustain an objection, you must disregard the question or the

exhibit entirely.   Do not think about or guess what the witness might have said in answer to the

question; do not think about or guess what the exhibit might have shown.       Sometimes a witness

may have already answered before a lawyer objects or before I rule on the objection. If that

happens and if I sustain the objection, you should disregard the answer that was given.

        Also, I may order that some testimony or other evidence be stricken or removed from the

record. If I do that, I will instruct you to disregard that evidence.   That means, when you are

deciding the case, you must not consider or be influenced in any way by the testimony or other


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evidence that I told you to disregard.

       Although the lawyers may call your attention to certain facts or factual conclusions that

they think are important, what the lawyers say is not evidence and is not binding on you.   It is

your own recollection and interpretation of the evidence that controls your decision. Also, do

not assume from anything I do or say during the trial that I have any opinion about the evidence

or about any of the issues in this case or about what your verdict should be.7




7 3rd Circuit Model Jury Instructions, § 1.08 (2012).
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INSTRUCTION 8: Direct and Circumstantial Evidence

           Two types of evidence may be used in this trial, direct evidence and circumstantial (or

indirect) evidence.    You may use both types of evidence in reaching your verdict.

         Direct evidence is simply evidence which, if believed, directly proves a fact.     An

example of "direct evidence" occurs when a witness testifies about something the witness knows

from his or her own senses: something the witness has seen, touched, heard, or smelled.

         “Circumstantial evidence" is evidence which, if believed, indirectly proves a fact.      It is

evidence that proves one or more facts from which you could find or infer the existence of some

other fact or facts.   An inference is simply a deduction or conclusion that reason, experience,

and common sense lead you to make from the evidence.           An inference is not a suspicion or a

guess.    It is a reasoned, logical decision to find that a disputed fact exists on the basis of another

fact.

         For example, if someone walked into the courtroom wearing a wet raincoat and carrying

a wet umbrella, that would be circumstantial or indirect evidence from which you could find or

conclude that it was raining.    You would not have to find that it was raining, but you could.

         Sometimes different inferences may be drawn from the same set of facts. The

government may ask you to draw one inference, and the defense may ask you to draw another.

You, and you alone, must decide what inferences you will draw based on all the evidence.

         You should consider all the evidence that is presented in this trial, direct and

circumstantial.    The law makes no distinction between the weight that you should give to either

direct or circumstantial evidence. It is for you are to decide how much weight to give any




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evidence.8




8 3rd Circuit Model Jury Instructions, § 1.09 (2012).
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INSTRUCTION 9: Credibility of Witnesses

        In deciding what the facts are, you must decide what testimony you believe and what

testimony you do not believe.    You are the sole judges of the credibility of the witnesses.

Credibility refers to whether a witness is worthy of belief: Is the witness truthful?   Is the

witness testimony accurate?     You may believe everything a witness says, or only part of it, or

none of it.

        You may decide whether to believe a witness based on his or her behavior and manner of

testifying, the explanations the witness gives, and all the other evidence in the case, just as you

would in any important matter where you are trying to decide if a person is truthful,

straightforward, and accurate in his or her recollection. In deciding the question of credibility,

remember to use your common sense, your good judgment, and your experience.

        In deciding what to believe, you may consider a number of factors:

        (1) The opportunity and ability of the witness to see or hear or know the things about

which the witness testifies;

        (2) The quality of the witness’s knowledge, understanding, and memory;

        (3) The witness’s appearance, behavior, and manner while testifying;

        (4) Whether the witness has an interest in the outcome of the case or any motive, bias, or

prejudice;

        (5) Any relation the witness may have with a party in the case and any effect that the

verdict may have on the witness;

        (6) Whether the witness said or wrote anything before trial that is different from the


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witness’s testimony in court;

       (7) Whether the witness testimony is consistent or inconsistent with other evidence that

you believe;

       (8) Any other factors that bear on whether the witness should be believed. Inconsistencies

or discrepancies in a witness testimony or between the testimony of different witnesses may or

may not cause you to disbelieve that witness testimony.      Two or more persons witnessing an

event may simply see or hear it differently.    Mistaken recollection, like failure to recall, is a

common human experience.        In weighing the effect of an inconsistency, you should consider

whether it is about a matter of importance or an insignificant detail.    You should also consider

whether the inconsistency is innocent or intentional.

       You are not required to accept testimony even if the testimony is not contradicted and the

witness is not impeached.    You may decide that the testimony is not worthy of belief because of

the witness bearing and demeanor, or because of the inherent improbability of the testimony, or

for other reasons that are sufficient to you.

       After you make your own judgment about the believability of a witness, you can then

attach to that witness’s testimony the importance or weight that you think it deserves.

       The weight of the evidence to prove a fact does not necessarily depend on the number of

witnesses who testify. What is more important than numbers is how believable the witnesses are,

and how much weight you think their testimony deserves.9




9 3rd Circuit Model Jury Instructions, § 1.10 (2012).
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INSTRUCTION 10: Nature of the Indictment

         The government has charged Kenneth Crawford Jr. with violating federal law,

specifically conspiring to defraud the United States, making or presenting false, fictitious, or

fraudulent claims with a department of the United States, and obstructing or impeding the due

administration of the internal revenue laws.   The charges against Mr. Crawford are contained in

the indictment.   An indictment is just the formal way of specifying the exact crimes the

defendant is accused of committing. An indictment is simply a description of the charges

against a defendant.   It is an accusation only. An indictment is not evidence of anything, and

you should not give any weight to the fact that Mr. Crawford has been indicted in making your

decision in this case.10




10 3rd Circuit Model Jury Instructions, § 1.11 (2012).
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INSTRUCTION 11: Elements of the Offense(s) Charged

       Kenneth Crawford Jr. is charged in the indictment with committing the offense of

conspiracy to defraud the United States.    To help you follow the evidence, I will now give you a

brief summary of the elements of that offense, each of which the government must prove beyond

a reasonable doubt in order to convict Mr. Crawford of the offense charged.      The elements are:

       First:    That two or more persons agreed “to defraud the United States,” as charged in the

indictment.     “Defraud the United States,” means to cheat the United States government or any

of its agencies out of money or property.   It also means to obstruct or interfere with one of the

United States government’s lawful functions, by deceit, craft, trickery, or dishonest means;

       Second:      That Kenneth Crawford Jr. was a party to or member of that agreement;

       Third:     That Kenneth Crawford Jr. joined the agreement or conspiracy knowing of its

objective to defraud the United States and intending to join together with at least one other

conspirator to achieve that objective; that is, that Mr. Crawford and at least one other alleged

conspirator shared a unity of purpose and the intent to achieve a common goal or objective, to

defraud the United States; and

       Fourth:     That at some time during the existence of the agreement or conspiracy, at least

one of its members performed an overt act in order to further the objective of the agreement.

       Kenneth Crawford Jr. is also charged with committing the offense of making or

presenting false, fictitious, or fraudulent claims with a department of the United States.   The

elements of that offense are:

       First: The defendant made or presented to the Internal Revenue Service (“I.R.S.”) a claim

against the United States;


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       Second: At the time the defendant made or presented this claim, the Internal Revenue

Service (“I.R.S.”) was an agency of the United States;

       Third: The claim presented was false, fictitious or fraudulent; and

       Fourth: The defendant knew that the claim was false, fictitious or fraudulent as to

a material matter.

       Mr. Crawford is charged with presenting a false, fictitious or fraudulent tax return for

himself claiming a refund from the IRS.     He is also charged with willfully causing eight other

taxpayers to file false, fictitious or fraudulent tax returns claiming refunds from the IRS.

       Kenneth Crawford Jr. is also charged with committing the offense of obstructing or

impeding the due administration of the internal revenue laws. The elements of that offense are:

       First: that the defendant acted in any way corruptly;

       Second: that the defendant obstructed or impeded, or endeavored to obstruct or impede,

the due administration of a known pending or reasonably foreseeable tax-related action or

proceeding.

       What I have just told you is only a preliminary outline of the elements of the offenses

charged. At the end of trial, I will give you final instructions on the elements of the offenses

charged and on other matters of law. Those final instructions will be more detailed; they will

guide you in reaching your verdict in this case.11




11 3rd Circuit Model Jury Instructions, § 1.12 (2012).
                                                 24
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INSTRUCTION 12: Presumption of Innocence; Burden of Proof; Reasonable Doubt

         Kenneth Crawford Jr. has pleaded not guilty to the offenses charged.     Mr. Crawford is

presumed to be innocent.     He starts the trial with a clean slate, with no evidence against him.

The presumption of innocence stays with Mr. Crawford unless and until the government presents

evidence that overcomes that presumption by convincing you that he is guilty of the offenses

charged beyond a reasonable doubt.

         The presumption of innocence requires that you find Mr. Crawford not guilty, unless you

are satisfied that the government has proved guilt beyond a reasonable doubt. The presumption

of innocence means that Mr. Crawford has no burden or obligation to present any evidence at all

or to prove that he is not guilty.   The burden or obligation of proof is on the government to

prove that Mr. Crawford is guilty, and this burden stays with the government throughout the trial.

         In order for you to find Mr. Crawford guilty of the offenses charged, the government

must convince you that he is guilty beyond a reasonable doubt.        That means that the

government must prove each and every element of the offenses charged beyond a reasonable

doubt.    A defendant may not be convicted based on suspicion or conjecture, but only on

evidence proving guilt beyond a reasonable doubt.

         Proof beyond a reasonable doubt does not mean proof beyond all possible doubt or to a

mathematical certainty. Possible doubts or doubts based on conjecture or speculation are not

reasonable doubts. A reasonable doubt is a fair doubt based on reason, logic, common sense, or

experience. A reasonable doubt means a doubt that would cause an ordinary reasonable person

to hesitate to act in matters of importance in his or her own life.   It may arise from the evidence,

or from the lack of evidence, or from the nature of the evidence.


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       If, after hearing all the evidence, you are convinced that the government has proved

Kenneth Crawford Jr. guilty beyond a reasonable doubt, you should return a verdict of guilty.

However, if you have a reasonable doubt as to an element of an offense, then you must return a

verdict of not guilty.12




12 3rd Circuit Model Jury Instructions, § 1.13 (2012).
                                                26
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INSTRUCTION 13: Pro Se Defendant

       Kenneth Crawford Jr. has decided to represent himself in this trial and not to use the

services of a lawyer.   He has a constitutional right to do that.   His decision has no bearing on

whether he is guilty or not guilty, and it must not affect your consideration of the case.

       Because Mr. Crawford has decided to act as his own lawyer, you will hear him speak at

various times during the trial.     He may make an opening statement and closing argument.      He

may ask questions of witnesses, make objections, and argue to the court. I want to remind you

that when Mr. Crawford speaks in these parts of the trial, he is acting as a lawyer in the case, and

his words are not evidence.       The only evidence in this case comes from witnesses who testify

under oath on the witness stand and from exhibits that are admitted.

       Mr. Crawford has been appointed an attorney to act as standby counsel. That attorney

may be present at the defense table throughout trial and Mr. Crawford may consult with him, but

Mr. Crawford is constitutionally entitled to actual control of the case and his standby lawyer will

not interfere with that right.13




13 3rd Circuit Model Jury Instructions, § 1.18 (2012).
                                                   27
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                         INSTRUCTIONS FOR USE DURING TRIAL

INSTRUCTION 14:          Defendant's Prior Bad Acts or Crimes (F.R.E. 404(b))

       You have heard testimony that the defendant failed to file tax returns for tax years 2015

and 2016.

       This evidence was admitted only for a limited purpose.       You may only consider this

evidence for the purpose of deciding whether the defendant had the state of mind, knowledge, or

intent necessary to commit the crimes charged in the indictment.

       You have also heard testimony and seen exhibits that show the defendant tried to

eliminate others’ mortgages through the creation and filing of supposed “Private Registered

Setoff Bonds.”    This evidence was also admitted only for a limited purpose.    You may

consider this evidence to provide background information regarding the relationship between the

defendant and the witnesses who testified. You may also consider this evidence for the purpose

of deciding whether the defendant had the state of mind, knowledge, or intent necessary to

commit the crimes charged in the indictment.

       Do not consider this evidence for any other purpose.

       Of course, it is for you to determine whether you believe this evidence and, if you do

believe it, whether you accept it for the purpose offered.   You may give it such weight as you

feel it deserves, but only for the limited purpose that I described to you.

       The defendant is not on trial for committing these other acts. You may not consider the

evidence of these other acts as a substitute for proof that the defendant committed the crimes

charged. You may not consider this evidence as proof that the defendant has a bad character or


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any propensity to commit crimes.      Specifically, you may not use this evidence to conclude that

because the defendant may have committed the other act, he must also have committed the act(s)

charged in the indictment.

        Remember that the defendant is on trial here only for conspiracy to defraud the United

States, for making and presenting false, fictitious, or fraudulent claims to a department of the

United States, and for obstructing or impeding the due administration of the internal revenue

laws.   He is not on trial for these other acts.   Do not return a guilty verdict unless the

government proves the crimes charged in the indictment beyond a reasonable doubt.14




14 3rd Circuit Model Jury Instructions, § 2.23 (2017).
                                                   29
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INSTRUCTION 15: Disruptive Defendant

          Inappropriate verbalization: You just heard the defendant state [insert defendant’s

statement].     The defendant’s statements are not evidence in this case.     Only statements made

by the defendant while testifying are evidence. The defendant has an absolute right under the

constitution not to testify and it is the government’s burden to prove its case beyond a reasonable

doubt.

          As I instructed you earlier, the defendant is representing himself in this case.   When he

gives an opening or closing statement or questions a witness, his statements and questions are not

evidence, just as statements made by the lawyers for the government are not evidence.          As I

have instructed you previously and will instruct you again, it is your job to decide the facts based

only on the evidence admitted at trial

          Inappropriate conduct requiring restraint of defendant: You may notice that the defendant

[describe restraints; e.g., is wearing handcuffs in the courtroom]. You must not consider this

fact in deciding the issues in this case.   It is not evidence in the case and should not be

discussed by you in your deliberations.      It has no bearing on defendant’s guilt or innocence.

          Inappropriate conduct requiring removal of defendant: You may notice that the defendant

is no longer in the courtroom.     The defendant’s absence is unrelated to his guilt or innocence

and is not evidence in the case.     You must not consider this fact in deciding the issues in this

case.15




15 3rd Circuit Model Jury Instructions, § 2.34 (2017) (modified).
                                                   30
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INSTRUCTION 16: Limiting Instruction During Trial: Legal Materials and Statements

         [Members of the jury, you may recall that at the beginning of trial I gave you some

instructions concerning the role of this Court, as well as your role as jurors. I informed you that this

Court is the sole source of law and that you the jurors decide the facts. One of the parties, in this

case, the [Government][Defendant], seeks to introduce [evidence, e.g., Exhibit ___ or testimony

about membership in ___]. I am going to admit this document for the limited purpose for which it

is offered, namely, as evidence of what the [Government][Defendant] believes the document may

or may not show concerning the defendant’s state of mind. You are to disregard the statements of

law contained in this document because this Court is the sole source of the law, and the statements

of law in this document are not correct. I instruct you that you cannot rely on these references for

purposes of determining what the law is.16




16 Similar instruction given repeatedly throughout trial and affirmed by First Circuit in United States v. Adams, 740
F.3d 40, 45-46 (1st Cir. 2014) (“Criminal tax cases in which a defendant mounts a good-faith defense are fertile soil
for the judicious use of such instructions. In such cases, ‘the district court must be permitted to prevent the defendant’s
alleged view of the law from confusing the jury as to the actual state of the law. . . In this case, the district court’s use
of cautionary instructions appears to have been carefully considered. Moreover, the content of the cautionary
instructions was impeccable.’” (quotation omitted)).
                                                            31
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                                     FINAL INSTRUCTIONS

INSTRUCTION 17: Role of Jury

       Members of the jury, you have seen and heard all the evidence and the arguments of the

lawyers.   Now I will instruct you on the law.

       You have two duties as a jury.     Your first duty is to decide the facts from the evidence

that you have heard and seen in court during this trial.   That is your job and yours alone.   I

play no part in finding the facts.   You should not take anything I may have said or done during

the trial as indicating what I think of the evidence or what I think about what your verdict should

be.

       Your second duty is to apply the law that I give you to the facts. My role now is to

explain to you the legal principles that must guide you in your decisions. You must apply my

instructions carefully. Each of the instructions is important, and you must apply all of them.

You must not substitute or follow your own notion or opinion about what the law is or ought to

be. You must apply the law that I give to you, whether you agree with it or not.

       Whatever your verdict, it will have to be unanimous.      All of you will have to agree on it

or there will be no verdict.   In the jury room you will discuss the case among yourselves, but

ultimately each of you will have to make up his or her own mind. This is a responsibility that

each of you has and that you cannot avoid.

       During your deliberations, you must not communicate with or provide any information to

anyone by any means about this case. You may not use any electronic device or media, such as

the telephone, a cell phone, smart phone, iPhone, Blackberry or computer, the Internet, any

Internet service, any text or instant messaging service, any Internet chat room, blog, or website


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such as Facebook, MySpace, LinkedIn, YouTube or Twitter, to communicate to anyone any

information about this case or to conduct any research about this case until I accept your verdict.

In other words, you cannot talk to anyone on the phone, correspond with anyone, or

electronically communicate with anyone about this case. You can only discuss the case in the

jury room with your fellow jurors during deliberations.

       You may not use these electronic means to investigate or communicate about the case

because it is important that you decide this case based solely on the evidence presented in this

courtroom. You are only permitted to discuss the case with your fellow jurors during

deliberations because they have seen and heard the same evidence you have. In our judicial

system, it is important that you are not influenced by anything or anyone outside of this

courtroom.

       Perform these duties fairly and impartially. Do not allow sympathy, prejudice, fear, or

public opinion to influence you.   You should also not be influenced by any person's race, color,

religion, national ancestry, gender, occupation, or economic circumstances.17




17 3rd Circuit Model Jury Instructions, § 3.01 (2015).

                                                33
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INSTRUCTION 18: Evidence

        You must make your decision in this case based only on the evidence that you saw and

heard in the courtroom.    Do not let rumors, suspicions, or anything else that you may have seen

or heard outside of court influence your decision in any way.

        The evidence from which you are to find the facts consists of the following:

(1) The testimony of the witnesses;

(2) Documents and other things received as exhibits; and

(3) Any fact or testimony that was stipulated; that is, formally agreed to by the parties.

        The following are not evidence:

(1) The indictment;

(2) Statements and arguments of the lawyers, or the defendant when acting as his own lawyer, in

this case;

(3) Questions by the lawyers, or by the defendant when acting as his own lawyer, and questions

that I might have asked;

(4) Objections by lawyers or the defendant, including objections in which they stated facts;

(5) Any testimony I struck or told you to disregard; and

(6) Anything you may have seen or heard about this case outside the courtroom.

        You should use your common sense in weighing the evidence.         Consider it in light of

your everyday experience with people and events, and give it whatever weight you believe it

deserves. If your experience and common sense tells you that certain evidence reasonably leads

to a conclusion, you may reach that conclusion.

        As I told you in my preliminary instructions, the rules of evidence control what can be


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received into evidence. During the trial the lawyers objected when they thought that evidence

was offered that was not permitted by the rules of evidence. These objections simply meant

that the lawyers were asking me to decide whether the evidence should be allowed under the

rules.

         You should not be influenced by the fact that an objection was made.    You should also

not be influenced by my rulings on objections or any sidebar conferences you may have

overheard.    When I overruled an objection, the question was answered or the exhibit was

received as evidence, and you should treat that testimony or exhibit like any other. When I

allowed evidence for a limited purpose only, I instructed you to consider that evidence only for

that limited purpose and you must do that.

         When I sustained an objection, the question was not answered or the exhibit was not

received as evidence. You must disregard the question or the exhibit entirely.     Do not think

about or guess what the witness might have said in answer to the question; do not think about or

guess what the exhibit might have shown.      Sometimes a witness may have already answered

before a lawyer objected or before I ruled on the objection. If that happened and if I sustained

the objection, you must disregard the answer that was given.

         Also, if I ordered that some testimony or other evidence be stricken or removed from the

record, you must disregard that evidence. When you are deciding this case, you must not

consider or be influenced in any way by the testimony or other evidence that I told you to

disregard.

         Although the lawyers may have called your attention to certain facts or factual

conclusions that they thought were important, what the lawyers said is not evidence and is not


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binding on you.    It is your own recollection and interpretation of the evidence that controls your

decision in this case.   Also, do not assume from anything I may have done or said during the

trial that I have any opinion about any of the issues in this case or about what your verdict should

be.18




18 3rd Circuit Model Jury Instructions, § 3.02 (2015).

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INSTRUCTION 19:          Direct and Circumstantial Evidence

       Two types of evidence may be used in this trial, “direct evidence” and “circumstantial (or

indirect) evidence.”   You may use both types of evidence in reaching your verdict.

       “Direct evidence” is simply evidence which, if believed, directly proves a fact.     An

example of "direct evidence" occurs when a witness testifies about something the witness knows

from his or her own senses — something the witness has seen, touched, heard, or smelled.

       "Circumstantial evidence" is evidence which, if believed, indirectly proves a fact.    It is

evidence that proves one or more facts from which you could reasonably find or infer the

existence of some other fact or facts.   A reasonable inference is simply a deduction or

conclusion that reason, experience, and common sense lead you to make from the evidence.         A

reasonable inference is not a suspicion or a guess. It is a reasoned, logical decision to find that

a disputed fact exists on the basis of another fact.

       For example, if someone walked into the courtroom wearing a wet raincoat and carrying

a wet umbrella, that would be circumstantial or indirect evidence from which you could

reasonably find or conclude that it was raining. You would not have to find that it was raining,

but you could.

       Sometimes different inferences may be drawn from the same set of facts.        The

government may ask you to draw one inference, and the defense may ask you to draw another.

You, and you alone, must decide what reasonable inferences you will draw based on all the

evidence and your reason, experience and common sense.

       You should consider all the evidence that is presented in this trial, direct and

circumstantial.   The law makes no distinction between the weight that you should give to either


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direct or circumstantial evidence. It is for you to decide how much weight to give any

evidence.19




19 3rd Circuit Model Jury Instructions, § 3.03 (2015)

                                                38
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INSTRUCTION 20: Credibility of Witnesses

       As I stated in my preliminary instructions at the beginning of the trial, in deciding what

the facts are you must decide what testimony you believe and what testimony you do not believe.

You are the sole judges of the credibility of the witnesses. Credibility refers to whether a

witness is worthy of belief: Was the witness truthful?      Was the witness’ testimony accurate?

You may believe everything a witness says, or only part of it, or none of it.

       You may decide whether to believe a witness based on his or her behavior and manner of

testifying, the explanations the witness gave, and all the other evidence in the case, just as you

would in any important matter where you are trying to decide if a person is truthful,

straightforward, and accurate in his or her recollection.     In deciding the question of credibility,

remember to use your common sense, your good judgment, and your experience.

       In deciding what to believe, you may consider a number of factors:

(1) The opportunity and ability of the witness to see or hear or know the things about which the

witness testified;

(2) The quality of the witness’ knowledge, understanding, and memory;

(3) The witness’ appearance, behavior, and manner while testifying;

(4) Whether the witness has an interest in the outcome of the case or any motive, bias, or

prejudice;

(5) Any relation the witness may have with a party in the case and any effect the verdict may

have on the witness;

(6) Whether the witness said or wrote anything before trial that was different from the witness’

testimony in court;


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(7) Whether the witness’ testimony was consistent or inconsistent with other evidence that you

believe; and

(8) Any other factors that bear on whether the witness should be believed.

       Inconsistencies or discrepancies in a witness’ testimony or between the testimony of

different witnesses may or may not cause you to disbelieve a witness’ testimony.      Two or more

persons witnessing an event may simply see or hear it differently.     Mistaken recollection, like

failure to recall, is a common human experience.      In weighing the effect of an inconsistency,

you should also consider whether it was about a matter of importance or an insignificant detail.

You should also consider whether the inconsistency was innocent or intentional.

       You are not required to accept testimony even if the testimony was not contradicted and

the witness was not impeached.     You may decide that the witness is not worthy of belief

because of the witness’ bearing and demeanor, or because of the inherent improbability of the

testimony, or for other reasons that are sufficient to you.

       After you make your own judgment about the believability of a witness, you can then

attach to that witness’ testimony the importance or weight that you think it deserves.

       The weight of the evidence to prove a fact does not necessarily depend on the number of

witnesses who testified or the quantity of evidence that was presented. What is more important

than numbers or quantity is how believable the witnesses were, and how much weight you think

their testimony deserves.20




20 3rd Circuit Model Jury Instructions, § 3.04 (2015).

                                                 40
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INSTRUCTION 21:         Not All Evidence, Not All Witnesses Needed

       Although the government is required to prove the defendant guilty beyond a reasonable

doubt, the government is not required to present all possible evidence related to the case or to

produce all possible witnesses who might have some knowledge about the facts of the case. In

addition, as I have explained, the defendant is not required to present any evidence or produce

any witnesses.21




21 3rd Circuit Model Jury Instructions, § 3.05 (2015).
                                                41
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INSTRUCTION 22: Presumption of Innocence; Burden of Proof; Reasonable Doubt

         The defendant, Kenneth Crawford Jr., pleaded not guilty to the offenses charged.      Mr.

Crawford is presumed to be innocent.     He started the trial with a clean slate, with no evidence

against him.    The presumption of innocence stays with him unless and until the government has

presented evidence that overcomes that presumption by convincing you that Mr. Crawford is

guilty of the offenses charged beyond a reasonable doubt.     The presumption of innocence

requires that you find the defendant not guilty, unless you are satisfied that the government has

proved guilt beyond a reasonable doubt.

         The presumption of innocence means that Mr. Crawford has no burden or obligation to

present any evidence at all or to prove that he is not guilty. The burden or obligation of proof is

on the government to prove that Mr. Crawford is guilty and this burden stays with the

government throughout the trial.

         In order for you to find Mr. Crawford guilty of the offenses charged, the government

must convince you that Mr. Crawford is guilty beyond a reasonable doubt.       That means that the

government must prove each and every element of the offenses charged beyond a reasonable

doubt.    A defendant may not be convicted based on suspicion or conjecture, but only on

evidence proving guilt beyond a reasonable doubt.

         Proof beyond a reasonable doubt does not mean proof beyond all possible doubt or to a

mathematical certainty. Possible doubts or doubts based on conjecture, speculation, or hunch

are not reasonable doubts.   A reasonable doubt is a fair doubt based on reason, logic, common

sense, or experience.   It is a doubt that an ordinary reasonable person has after carefully

weighing all of the evidence, and is a doubt of the sort that would cause him or her to hesitate to


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act in matters of importance in his or her own life.    It may arise from the evidence, or from the

lack of evidence, or from the nature of the evidence.

        If, having now heard all the evidence, you are convinced that the government proved

each and every element of the offense charged beyond a reasonable doubt, you should return a

verdict of guilty for that offense.   However, if you have a reasonable doubt about one or more

of the elements of the offense charged, then you must return a verdict of not guilty of that

offense.22




22 3rd Circuit Model Jury Instructions, § 3.06 (2015).
                                                 43
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INSTRUCTION 23: Nature of the Indictment

       As you know, Kenneth Crawford Jr. is charged in the indictment with violating federal

law, specifically conspiracy to defraud the United States, making or presenting a false, fictitious,

or fraudulent claim to a department of the United States, and obstructing or impeding the due

administration of the internal revenue laws.   As I explained at the beginning of trial, an

indictment is just the formal way of specifying the exact crimes the defendant is accused of

committing.    An indictment is simply a description of the charges against a defendant.      It is an

accusation only.   An indictment is not evidence of anything, and you should not give any

weight to the fact that Mr. Crawford has been indicted in making your decision in this case.23




23 3rd Circuit Model Jury Instructions, § 3.07 (2015).
                                                 44
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INSTRUCTION 24: On or About

       You will note that the indictment charges that the offenses were committed "on or about"

certain dates.   The Government does not have to prove with certainty the exact date of the

alleged offense.   It is sufficient if the Government proves beyond a reasonable doubt that the

offense was committed on a date reasonably near the date alleged.24




24 3rd Circuit Model Jury Instructions, § 3.08 (2015).
                                                45
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INSTRUCTION 25:          Conspiracy “To Defraud the United States” – Elements (18 U.S.C. §

371)

       Count 1 of the indictment charges that from in or about February 2015 through in or

about May 2016, in the District of New Jersey and elsewhere, Kenneth Crawford Jr. agreed or

conspired with one or more other persons to defraud the United States and that, to further the

objective of the conspiracy, one member of the conspiracy committed at least one overt act, as

alleged in the indictment.

       It is a federal crime for two or more persons to conspire or agree to defraud the United

States or any of its agencies, even if they never actually achieve their objective.   A conspiracy

is a kind of criminal partnership.

       In order for you to find Mr. Crawford guilty of conspiracy to defraud the United States,

you must find that the government proved beyond a reasonable doubt each of the following four

(4) elements:

       First:    That two or more persons agreed “to defraud the United States,” as charged in the

indictment.     “Defraud the United States,” means to cheat the United States government or any

of its agencies out of money or property.    It also means to obstruct or interfere with one of the

United States government’s lawful functions, by deceit, craft, trickery, or dishonest means;

       Second:      That Kenneth Crawford Jr. was a party to or member of that agreement;

       Third:     That Kenneth Crawford Jr. joined the agreement or conspiracy knowing of its

objective to defraud the United States and intending to join together with at least one other

conspirator to achieve that objective; that is, that Mr. Crawford and at least one other alleged

conspirator shared a unity of purpose and the intent to achieve a common goal or objective, to


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defraud the United States; and

       Fourth:   That at some time during the existence of the agreement or conspiracy, at least

one of its members performed an overt act in order to further the objective of the agreement.

       I will explain these elements in more detail.25




25 3rd Circuit Model Jury Instructions, § 6.18.371B (2012).
                                                47
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INSTRUCTION 26: Conspiracy – Existence of an Agreement

       The first element of the crime of conspiracy is the existence of an agreement.    The

government must prove beyond a reasonable doubt that two or more persons knowingly and

intentionally arrived at a mutual understanding or agreement, either spoken or unspoken, to work

together to achieve the overall objective of the conspiracy, to defraud the United States.

       The government does not have to prove the existence of a formal or written agreement, or

an express oral agreement spelling out the details of the understanding. The government also

does not have to prove that all the members of the conspiracy directly met, or discussed between

themselves their unlawful objective, or agreed to all the details, or agreed to how the objective

would be accomplished.     The government is not even required to prove that all the people

named in the indictment were, in fact, parties to the agreement, or that all members of the alleged

conspiracy were named, or that all members of the conspiracy are even known.       What the

government must prove beyond a reasonable doubt is that two or more persons in some way or

manner arrived at some type of agreement, mutual understanding, or meeting of the minds to try

to accomplish a common and unlawful objective.

       You may consider both direct evidence and circumstantial evidence in deciding whether

the government has proved beyond a reasonable doubt that an agreement or mutual

understanding existed. You may find the existence of a conspiracy based on reasonable

inferences drawn from the actions and statements of the alleged members of the conspiracy, from

the circumstances surrounding the scheme, and from evidence of related facts and circumstances

which prove that the activities of the participants in a criminal venture could not have been




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carried out except as the result of a preconceived agreement, scheme, or understanding.26




26 3rd Circuit Model Jury Instructions, § 6.18.371C (2012).
                                               49
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INSTRUCTION 27: Conspiracy – Membership in the Agreement

        If you find that a criminal agreement or conspiracy existed, then in order to find Kenneth

Crawford Jr. guilty of conspiracy you must also find that the government proved beyond a

reasonable doubt that Mr. Crawford knowingly and intentionally joined that agreement or

conspiracy during its existence.   The government must prove that Mr. Crawford knew the goal

or objective of the agreement or conspiracy and voluntarily joined it during its existence,

intending to achieve the common goal or objective and to work together with the other alleged

conspirators toward that goal or objective.

        The government need not prove that Kenneth Crawford Jr. knew everything about the

conspiracy or that he knew everyone involved in it, or that he was a member from the beginning.

The government also does not have to prove that Mr. Crawford played a major or substantial role

in the conspiracy.

        You may consider both direct evidence and circumstantial evidence in deciding whether

Mr. Crawford joined the conspiracy, knew of its criminal objective, and intended to further the

objective. Evidence which shows that Kenneth Crawford only knew about the conspiracy, or

was only present when it was discussed or when a crime was committed, is not sufficient to

prove that he was a member of the conspiracy even if he approved of what was happening or did

not object to it.   Likewise, evidence showing that Mr. Crawford may have done something that

happened to help a conspiracy does not necessarily prove that he joined the conspiracy.       You

may, however, consider this evidence, with all the other evidence, in deciding whether the

government proved beyond a reasonable doubt that Kenneth Crawford Jr. joined the




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conspiracy.27




27 3rd Circuit Model Jury Instructions, § 6.18.371D (2012).
                                               51
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INSTRUCTION 28: Conspiracy – Mental States

       In order to find Kenneth Crawford Jr. guilty of conspiracy you must find that the

government proved beyond a reasonable doubt that he joined the conspiracy knowing of its

objective and intending to help further or achieve that objective.   That is, the government must

prove: (1) that Mr. Crawford knew of the objective or goal of the conspiracy, (2) that he joined

the conspiracy intending to help further or achieve that goal or objective, and (3) that he and at

least one other alleged conspirator shared a unity of purpose toward that objective or goal.28




28 3rd Circuit Model Jury Instructions, § 6.18.371E (2012).
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INSTRUCTION 29: Conspiracy – Overt Acts

       With regard to the fourth element of conspiracy – overt acts – the government must prove

beyond a reasonable doubt that during the existence of the conspiracy at least one member of the

conspiracy performed at least one of the overt acts described in the indictment, for the purpose of

furthering or helping to achieve the objective of the conspiracy.

       The indictment alleges certain overt acts.    The government does not have to prove that

all of these acts were committed or that any of these acts were themselves illegal.   Also, the

government does not have to prove that Kenneth Crawford Jr. personally committed any of the

overt acts. The government must prove beyond a reasonable doubt that at least one member of

the conspiracy committed at least one of the overt acts alleged in the indictment and committed it

during the time that the conspiracy existed, for the purpose of furthering or helping to achieve

the objective of the conspiracy.   You must unanimously agree on the overt act that was

committed.29




29 3rd Circuit Model Jury Instructions, § 6.18.371F (2012).
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INSTRUCTION 30:         Conspiracy – Success Immaterial

       The government is not required to prove that any of the members of the conspiracy were

successful in achieving any or all of the objectives of the conspiracy.   You may find Kenneth

Crawford guilty of conspiracy if you find that the government proved beyond a reasonable doubt

the elements I have explained, even if you find that the government did not prove that any of the

conspirators actually defrauded the United States.30




30 3rd Circuit Model Jury Instructions, § 6.18.371G (2012).
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INSTRUCTION 31: Making or Presenting False, Fictitious, or Fraudulent Claims (18

U.S.C. § 287)

       Counts 2 – 10 of the indictment charge that Kenneth Crawford Jr. made and presented,

and caused to be made and presented, to the Internal Revenue Service tax returns with claims for

refunds, which the defendant knew to be false, fictitious and fraudulent, and to which the

defendant knew the identified taxpayers were not entitled, in violation of Title 18, United States

Code, Sections 287 and 2.

       Section 287 of Title 18 of the United States Code provides, in part, that:

       Whoever makes or presents to any person or officer in the civil, military,

       or naval service of the United States, or to any department or agency

       thereof, any claim upon or against the United States, or any department or

       agency thereof, knowing such claim to be false, fictitious or fraudulent

       shall be ... guilty of an offense against the United States.31




31 18 U.S.C. § 287; 2 O’Malley, Grenig, and Lee, Federal Jury Practice and Instructions, §30.02
(5th ed. 2000).

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INSTRUCTION 32: Making or Presenting False, Fictitious, or Fraudulent

Claims--Elements

       To sustain its burden of proof for the crime of making or presenting a claim to the United

States knowing that it is false, fictitious, or fraudulent, the government must prove the following

four elements beyond a reasonable doubt:

       First: The defendant made or presented to the Internal Revenue Service (“I.R.S.”) a claim

       against the United States;

       Second: At the time the defendant made or presented this claim, the Internal Revenue

       Service (“I.R.S.”) was an agency of the United States;

       Third: The claim presented was false, fictitious or fraudulent; and

       Fourth: The defendant knew that the claim was false, fictitious or fraudulent as to

       a material matter.32




32 2 O’Malley, Grenig, and Lee, Federal Jury Practice and Instructions, §30.03 (5th ed. 2000);
United States v. Saybolt, 577 F.3d 195, 199-200 (3d Cir. 2009); 18 U.S.C. § 3147(1).

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INSTRUCTION 33: Making False Claims -"Any Department Or Agency" - Defined

       The term "department," as used in these instructions, means one of the executive

departments of the government, including the Department of the Treasury.

       The term "agency," as used in these instructions, includes any independent establishment,

commission, administration, authority, board or bureau of the United States, including the

Internal Revenue Service.

       To sustain its burden regarding the making or presenting a claim to an "agency" of

the government, it is not necessary for the prosecution to prove that the defendant made or

presented the claim directly to the agency in question, so long as it was reasonably foreseeable

that the claim would eventually be filed with an agency.33




33 2 O’Malley, Grenig, and Lee, Federal Jury Practice and Instructions, §30.04 (5th ed. 2000).


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INSTRUCTION 34: "Claim" - Defined

       A "claim," as that word is used in these instructions, is a demand for money,

credit, or reimbursement.   A tax return claiming a tax refund is a claim against the United

States.34




34 2 O’Malley, Grenig, and Lee, Federal Jury Practice and Instructions, §30.07 (5th ed. 2000).
53; United States v. Thayer, 201 F.3d 214, 223 (3d Cir. 1999).


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INSTRUCTION 35: "False, Fictitious, Or Fraudulent" - Defined

       A "false" or "fictitious" claim is one which is untrue when made or when used and which

is known by the person making it or using it to be untrue.

       A "fraudulent" claim is one which is known to be materially untrue and which is made or

used with the intent to deceive.35




35 2 O’Malley, Grenig, and Lee, Federal Jury Practice and Instructions, §30.05 (5th ed. 2000);
United States v. Saybolt, 577 F.3d 195, 199-200 (3d Cir. 2009) (holding that a “fraudulent” claim
must be materially untrue, but a “false” or “fictitious” claim does not need to be materially
untrue. Thus, the use of the disjunctive connector “or” between the terms “false,” “fictitious,”
and “fraudulent” compels one conclusion: proof of materiality is not always necessary to
establish a Section 287 violation.”)

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INSTRUCTION 36: “Material” - Defined

       A claim is “material,” as that word is used in these instructions, if it has a natural

tendency to influence or was capable of influencing the actions of the decision making body to

which it was addressed.

       In determining whether a claim is material, it is irrelevant whether the claim

actually influenced or affected the decision-making process of the agency, only that it had a

natural tendency to influence or was capable of influencing.36




36 See 1A, O’Malley, Grenig, and Lee, Federal Jury Practice and Instructions § 11:05 (5th ed.
2011) (modified); United States v. Sarihifard, 155 F.3d 301, 306 (4th Cir. 1998) (holding that
only tendency to influence, not actual influence, required for materiality).

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INSTRUCTION 37: Causing the Criminal Acts of Another (18 U.S.C. § 2(b))

        A person may be guilty of an offense because he personally committed the offense

himself or because he willfully caused another person to commit acts which would constitute the

offense if the acts had been performed by him directly.

        In this case, Kenneth Crawford Jr. is charged with making or presenting false, fictitious,

or fraudulent claims to a department of the United States and is alleged to have caused clients

identified in counts 2 – 9 of indictment to commit acts which would constitute the crime of

submitting false claims if the acts had been performed by Kenneth Crawford Jr. directly.        To

find Mr. Crawford guilty of submitting false claims because he caused others to commit the acts

constituting the offense, you need not find that Mr. Crawford committed any of the acts himself.

You must, however, find that the government proved beyond a reasonable doubt each of the

following three (3) requirements:

        First: That acts constituting the offenses charged were committed by the clients identified

in Counts 2 through 9 of the Indictment;

        Second: That Kenneth Crawford had the mental state required for the offense that he

caused the other person to commit.         In this case that means the government must prove beyond

a reasonable doubt that Kenneth Crawford Jr. knew that the claims he caused others to file were

false, fictitious, or fraudulent;

        Third: That Kenneth Crawford Jr. willfully caused the clients identified in Counts 2

through 9 of the Indictment to commit the acts constituting the crime of making or presenting

false, fictitious, or fraudulent claims.    In this case that means the government must prove


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beyond a reasonable doubt that Kenneth Crawford Jr. willfully caused others to make or present

a false, fictitious, or fraudulent claim to the IRS. To find that Mr. Crawford “caused” this other

person to commit those acts, you must find that the government proved beyond a reasonable

doubt that Mr. Crawford brought about those acts.

       As I stated, the government must prove beyond a reasonable doubt that the clients

identified in Counts 2 through 9 of the Indictment committed the acts constituting the offense.

However, it is not necessary for you to find that those clients is themselves are guilty of the

offense as a matter of criminal law.   For example, there may be a situation in which a person

commits all of the acts which comprise a federal crime, but is not responsible for the crime

because of, for example, mental impairment or youth, or is not guilty of the crime because he or

she acted innocently, and did not have the mental state required to commit that crime.

Nevertheless, Mr. Crawford may be guilty of causing that crime, under the instructions I have

given to you, where Mr. Crawford did intend that the crime be committed and willfully caused

the criminal acts to be committed by another person.     Thus, to find Kenneth Crawford Jr. guilty

of causing another person to commit a crime, it is not necessary that this other person be found

guilty of a crime, be charged in the indictment, or even be known, so long as you find beyond a

reasonable doubt that Mr. Crawford willfully caused the other person to commit the offense.37




37 3rd Circuit Model Jury Instructions, § 7.05 (2014).
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INSTRUCTION 38: “Willfully”—Defined

        Willfully, as used in these instructions, means voluntarily and intentionally, with the

specific intent to cause the filing of a false, fictitious, or fraudulent tax return, when it was the

legal duty of the defendant not to do so, and the defendant knew it was his legal duty not to do

so.38

        If defendant acted in good faith, he did not act willfully. [“A good faith belief is one

which is honestly and genuinely held.”]      The burden to prove defendant’s state of mind, as with

all other elements of the crime, rests with the government. This is a subjective standard: what did

defendant actually believe, not what a reasonable person should have believed.         However, you

may consider the reasonableness of the belief in deciding whether defendant actually held the

belief.39




38 Sand, et al, Modern Federal Jury Instructions-Criminal P 59.04, Instruction 59-30.

39 United States v. Basile, 570 F. App'x 252, 256 (3d Cir. 2014) (approving jury instruction that it
“may consider whether the Defendant’s stated belief about the tax statutes was reasonable as a
factor in deciding whether the belief was honestly or genuinely held”)
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INSTRUCTION 39: Willful Blindness

       The element of knowledge on the part of the defendant may be satisfied by inferences

drawn from proof that the defendant closed his eyes to what would otherwise have been obvious

to the defendant. A finding beyond a reasonable doubt of a conscious purpose by the defendant

to avoid knowledge that the tax returns at issue were false, fictitious, or fraudulent as to a

material matter would permit an inference that he had such knowledge.

       Stated another way, the defendant's knowledge of a fact or circumstance may be inferred

from his willful blindness to the existence of that fact and circumstance.

       No one can avoid responsibility for a crime by deliberately ignoring what is obvious.

Thus, you may find that the defendant knew that the tax returns at issue were false, ficitious, or

fraudulent as to a material fact based on evidence that you find exists that proves beyond a

reasonable doubt that the defendant was aware of a high probability that the tax returns at issue

were false, fictitious, or fraudulent; and two, that defendant consciously and deliberately tried to

avoid learning about this fact or circumstance.40




       40 United States v. Stadtmauer, 620 F.3d 238, 253 (3d Cir. 2010) (affirming conviction
over challenge to a nearly identical instruction and holding that “the Government need not
present direct evidence of conscious avoidance to justify a willful blindness instruction.”)

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INSTRUCTIONS 40: Interfering with the Internal Revenue Laws--Elements

        Count 11 charges Kenneth Crawford Jr. with corruptly trying to obstruct or impede the

administration of the Internal Revenue laws. It is against federal law to corruptly endeavor to

obstruct or impede the administration of Internal Revenue laws.     For you to find Mr. Crawford

guilty of this crime, the government must prove the following things beyond a reasonable doubt:

            First: that the defendant acted in any way corruptly;

            Second: that the defendant obstructed or impeded, or endeavored to obstruct or

    impede, the due administration of a known pending or reasonably foreseeable tax-related

    action or proceeding.

        To act "corruptly" is to act with the intent to secure an unlawful advantage or benefit

either for one's self or for another.

        The term "endeavored" as used in these instructions means to knowingly and deliberately

act or to knowingly and deliberately make any effort that has a reasonable tendency to bring

about the desired result.

        The government must prove some "act" by the defendant, rather than a failure to act. It is

not necessary for the government to prove that the "endeavor" was successful or, in fact,

achieved the desired result.

        To "obstruct or impede" means to hinder, check, stop, or retard the progress of; or to

make accomplishment difficult and slow.

        The "due administration of the Internal Revenue laws" for purposes of § 7212(a) means a

particular tax-related proceeding or targeted administrative action.   An effort to collect taxes



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owed or assess penalties would qualify. But it does not include routine administrative procedures

that are near-universally applied to all taxpayers, such as the ordinary processing of tax returns.

        The government must prove a "nexus" between the defendant's obstructive conduct and

the particular tax-related proceeding or administrative action. To prove a nexus, there must be a

relationship in time, causation, or logic between an alleged obstructive act and the tax-related

action or proceeding.

        The act need not be criminal in character.        An act, even if lawful in-and-of-itself, can

serve as a corrupt act if it is done with the requisite intent.

        In sum, the government must prove that the defendant deliberately engaged in an act

intended to corruptly obstruct or impede a known pending, or reasonably foreseeable, tax-related
                                        41
proceeding or administrative action.




41      See United States v. Marinello, 138 S. Ct. 1101 (2018); accord Sand et al., Modern Federal
Jury Instructions–Criminal (2018), No. 59-32; Pattern First Circuit Jury Instruction No. 4.26.7212;
United States v. Floyd, 740 F.3d 22, 32 (1st Cir. 2014) (related tax fraud promoter case) (“A
conviction for violation of section 7212(a) does not require proof of either a tax deficiency . . . or
an ongoing audit.”); Id. at 31 (“Even actions that would otherwise be lawful may transgress the
statute if they are undertaken with the intention of securing an unlawful benefit.”); accord Pattern
First Circuit Jury Instruction 4.26..7212(a).
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INSTRUCTION 41: Separate Consideration

        Kenneth Crawford Jr. is charged with one count of conspiracy to defraud the United

States, nine counts of making or presenting false, fictitious, or fraudulent claims to a department

of the United States, and one count of obstructing or impeding the due administration of the

internal revenue laws; each offense is charged in a separate count of the indictment.

        The number of offenses charged is not evidence of guilt, and this should not influence

your decision in any way.     You must separately consider the evidence that relates to each

offense, and you must return a separate verdict for each offense.   For each offense charged, you

must decide whether the government has proved beyond a reasonable doubt that the defendant is

guilty of that particular offense.

        Your decision on one offense, whether guilty or not guilty, should not influence your

decision on any of the other offenses charged.    Each offense should be considered separately.42




42 3rd Circuit Model Jury Instructions, § 3.12 (2015).
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INSTRUCTION 42: Election of Foreperson; Unanimous Verdict; Do Not Consider

Punishment; Duty to Deliberate; Communication with Court

       That concludes my instructions explaining the law regarding the testimony and other

evidence, and the offenses charged. Now let me explain some things about your deliberations

in the jury room, and your possible verdicts.

       First:   The first thing that you should do in the jury room is choose someone to be your

foreperson. This person will speak for the jury here in court. He or she will also preside over

your discussions.    However, the views and vote of the foreperson are entitled to no greater

weight than those of any other juror.

       Second:      I want to remind you that your verdict, whether it is guilty or not guilty, must

be unanimous.    To find Kenneth Crawford Jr. guilty of an offense, every one of you must agree

that the government has overcome the presumption of innocence with evidence that proves each

element of that offense beyond a reasonable doubt.      To find Mr. Crawford not guilty, every one

of you must agree that the government has failed to convince you beyond a reasonable doubt.

       Third: If you decide that the government has proved Mr. Crawford guilty, then it will

be my responsibility to decide what the appropriate punishment should be.        You should never

consider the possible punishment in reaching your verdict.

       Fourth: As I have said before, your verdict must be based only on the evidence received

in this case and the law I have given to you. You should not take anything I may have said or

done during trial as indicating what I think of the evidence or what I think your verdict should

be. What the verdict should be is the exclusive responsibility of the jury.


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       Fifth:   Now that all the evidence is in, the arguments are completed, and once I have

finished these instructions, you are free to talk about the case in the jury room.   In fact, it is

your duty to talk with each other about the evidence, and to make every reasonable effort you

can to reach unanimous agreement. Talk with each other, listen carefully and respectfully to each

other's views, and keep an open mind as you listen to what your fellow jurors have to say. Do

not hesitate to change your mind if you are convinced that other jurors are right and that your

original position was wrong.    But do not ever change your mind just because other jurors see

things differently, or just to get the case over with. In the end, your vote must be exactly

that--your own vote.    It is important for you to reach unanimous agreement, but only if you can

do so honestly and in good conscience. Listen carefully to what the other jurors have to say,

and then decide for yourself if the government has proved the defendant guilty beyond a

reasonable doubt.

       No one will be allowed to hear your discussions in the jury room, and no record will be

made of what you say. You should all feel free to speak your minds.

       Sixth:   Once you start deliberating, do not talk, communicate with, or provide any

information about this case by any means to the court officials, or to me, or to anyone else except

each other. During your deliberations, you may not use any electronic device or media, such as

a telephone, cell phone, smart phone, iPhone, Blackberry or computer; the internet, any internet

service, or any text or instant messaging service; or any internet chat room, blog, or website such

as Facebook, My Space, LinkedIn, YouTube or Twitter, to communicate to anyone any

information about this case or to conduct any research about this case.

       Seventh: If you have any questions or messages, your foreperson should write them


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down on a piece of paper, sign them, and then give them to the court official who will give them

to me.     I will first talk to the lawyers about what you have asked, and I will respond as soon as I

can.     In the meantime, if possible, continue with your deliberations on some other subject.

         One more thing about messages.      Do not ever write down or tell anyone how you or any

one else voted.    That should stay secret until you have finished your deliberations. If you have

occasion to communicate with the court while you are deliberating, do not disclose the number

of jurors who have voted to convict or acquit on any offense(s).43




43 3rd Circuit Model Jury Instructions, § 3.16 (2015).
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INSTRUCTION 43: Verdict Form

       A verdict form has been prepared that you should use to record your verdicts.

       Take this form with you to the jury room.       When you have reached your unanimous

verdicts, the foreperson should write the verdicts on the form, date and sign it, return it to the

courtroom and give the form to my courtroom deputy to give to me.         If you decide that the

government has proved Kenneth Crawford Jr. guilty of any or all of the offenses charged beyond

a reasonable doubt, say so by having your foreperson mark the appropriate place on the form.

If you decide that the government has not proved Mr. Crawford guilty of some or all of the

offenses charged beyond a reasonable doubt, say so by having your foreperson mark the

appropriate place on the form.44




44 3rd Circuit Model Jury Instructions, § 3.17 (2015)
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